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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


STATE FARM MUT. AUTO. INS. CO.,           :
ET AL.,                                   :
                                          :
            Plaintiffs,                   :     CIVIL ACTION
                                          :
     v.                                   :
                                          :     NO. 15-cv-5929
LEONARD STAVROPOLSKIY, ET AL.,            :
                                          :
                                          :
            Defendants.                   :


                           MEMORANDUM AND ORDER

Joyner, J.                                                      May 16, 2016

     Before the Court are Defendants’ Motion to Dismiss Plaintiffs’

Amended Complaint (Doc. No. 22), Plaintiffs’ Response in Opposition

thereto (Doc. No. 25), Defendants’ Reply in Further Support thereof

(Doc. No. 26), and Plaintiffs’ Sur-reply is Further Opposition

thereto (Doc. No. 27). For the reasons below, the Court will deny

the Motion. An Order follows.

I. Factual and Procedural Background1

     This    action   is   brought   by   Plaintiffs    State   Farm     Mutual

Automobile Insurance Company and State Farm Fire and Casualty

Company (collectively, “State Farm”) against Defendants Eastern


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        Facts for this section are taken from the Amended Complaint.

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Approach Rehabilitation, LLC (“Eastern Approach”); Aquatic Therapy

of Chinatown, Inc. (“Aquatic Therapy”); Leonard Stavropolskiy,

P.T., D.C. (“Stavropolskiy”); and Joseph Wang, P.T., D.C. (“Wang”).

Eastern Approach and Aquatic Therapy are facilities that provide

chiropractic and medical examinations, treatment, testing, and

services to persons, including those who have been injured in

automobile   accidents.    Stavropolskiy         and Wang    are   proprietors,

owners, officers, employees, agents, and shareholders/members of

both. Plaintiffs are corporations with their principal places of

business in Illinois. They provide insurance coverage to their

customers for medical payments, uninsured and underinsured motorist

benefits, and liability for bodily injury arising out of automobile

accidents.

     Plaintiffs allege the Defendants conspired and continue to

conspire to file false and fraudulent insurance claims with State

Farm. The scheme involves the following fraudulent conduct: 1)

failing to legitimately examine patients, 2) creating records with

predetermined   findings     rather       than    properly    recording    what

transpired during examinations, and 3) providing the same treatment

for nearly every patient, regardless of whether or not it was

medically necessary. Amend. Compl. ¶ 3. The fraudulent records are

then submitted to State Farm to induce payments. Id. at ¶ 7. State

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Farm provided payment for these services, with damages totaling

over $850,000. Id. at ¶ 9.

      In support of their allegations, Plaintiffs note that the

records submitted by the Defendants indicate observations and

treatment for a variety of patients, and across multiple visits,

that is implausibly similar. See Id. at ¶ 24. In particular, in the

initial examination, nearly all patients are reported as having

“moderate-to-severe joint dysfunctions, pain, and muscle spasms

across multiple regions of the spine” and pelvis. Id. at ¶¶ 29, 47.

Records from subsequent visits contain the same findings as in the

initial examinations, suggesting they were copied and pasted from

the initial examination. Id. at ¶¶ 30, 54, 63. The treatment

recorded is not “uniquely tailored” to the individual patient, but

instead “predetermined” for a large number of patients. Id. at ¶

31.

      Plaintiffs allege this practice has been ongoing since 2010,

and continues today. Id. at ¶ 8. They allege that the Defendants

took deliberate steps to “conceal the nature of their activities in

order to insulate themselves from liability” by changing the

language in the records to make the observations, diagnoses, and

treatment appear to vary from patient to patient and visit to

visit. Id. at ¶ 77. Defendants used “WritePad” software, which

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would “randomize” certain phrases into synonymous ones so as to

conceal the similarity in observations, diagnoses, and treatment.

Id. at ¶¶ 5, 32, 68-70. The different phrases made it “appear that

the reported complaints, findings, and diagnoses were legitimate

and individualized” when in fact they were not.” Id. at ¶ 70

(emphasis in the original). Plaintiffs maintain that because of the

active steps taken by the Defendants to conceal their illegal

behavior, Plaintiffs were unable to discover the fraud until

recently. See Id. at ¶ 78.

     Plaintiffs filed this action on October 30, 2015. On December

2, 2015, the Defendants filed a Motion to Dismiss (Doc. No. 3), and

the Court granted that Motion while also granting Plaintiffs leave

to amend the complaint (Doc. No. 17). On March 7, 2016, Plaintiffs

filed their Amended Complaint (Doc. No. 20). As in their first

Complaint, Plaintiffs allege the Defendants committed common law

fraud, statutory insurance fraud, and obtained unjust enrichment,

and they seek damages, restitution, and a declaratory judgment.

Defendants filed the present Motion to Dismiss on March 16, 2016

(Doc. No. 22). Plaintiffs and Defendants filed subsequent pleadings

(Doc. Nos. 25-27).

II. Jurisdiction

     This Court has jurisdiction to hear this matter pursuant to 28

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U.S.C. § 1332.

III. Legal Standard

      A party may move to dismiss a complaint for failure to state

a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

In considering such a motion, a district court must “accept as true

the   factual    allegations   in    the   complaint   and   all   reasonable

inferences that can be drawn therefrom.” Nami v. Fauver, 82 F.3d

63, 65 (3d Cir. 1996) (citation omitted). “To survive a motion to

dismiss,   a    complaint   must    contain   sufficient     factual   matter,

accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (citation

omitted). “Threadbare” recitations of the elements of a claim

supported only by “conclusory statements” will not suffice. Id.

(citation omitted). Rather, a plaintiff must allege some facts to

raise the allegation above the level of mere speculation. Great W.

Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159, 176 (3d

Cir. 2010) (citing Twombly, 550 U.S. at 555).

IV. Discussion

      In their Motion to Dismiss, Defendants argue the following: 1)



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Plaintiffs   have   not   alleged   that   any of   the   medical   records

submitted were false, 2) Plaintiffs have not shown that they

justifiably relied, and 3) the claims are barred by the statute of

limitations. We will address each in turn.

A. Misrepresentation

     Defendants argue that State Farm has failed to allege any

misrepresentation in their Amended Complaint. Under both common law

fraud and Pennsylvania statutory insurance fraud, a plaintiff must

plead that the defendant submitted false or misleading information.

See 18 Pa. C.S.A. § 4117(a). Defendants argue that State Farm

alleges fraud “based entirely on the use of synonyms.” Doc. No. 22

at 1 of 17 (emphasis in the original). This appears to be a

misunderstanding of Plaintiffs’ claim that Defendants used software

to change the language in the records to avoid detection. In fact,

throughout the Amended Complaint, Plaintiffs allege that Defendants

have deliberately created and submitted inaccurate records. See,

e.g., Amend. Compl. ¶¶ 29-31, 33, 47, 48, 50, 63, 64. The use of

synonyms is only brought up as it relates to a tactic Plaintiffs

allege Defendants employ to conceal the similarity of the medical

records. These records are similar, they maintain, because they do

not reflect what actually transpired with regard to observations

and treatment; instead, they were copied from previous patients and

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visits.     In    other    words,       the       records   submitted      were   false.

Accordingly, we find that Defendants’ argument has no merit, and we

deny their motion to dismiss on this ground.2

B. Justifiable Reliance

      Defendants argue that because State Farm claims that the

records are false on their face, they cannot also claim they

justifiably relied on their accuracy. As Plaintiffs correctly point

out, it is not necessary to show reliance, let alone justifiable

reliance,        when    pleading   insurance          fraud     under     Pennsylvania

statutory law. See State Farm Mut. Auto. Ins. Co. v. Lincow, 715

F.Supp.    2d     617,    633   (E.D.    Pa.       2010);   18   Pa.C.S.    §   4117(a).

Therefore this argument only applies to the common law fraud claim.

See Santana Prods., Inc. v. Bobrick Washroom Equip., Inc., 401 F.3d

123, 136 (3d Cir. 2005) (noting that justifiable reliance is one

element of common law fraud under Pennsylvania law). “Courts must

consider ‘the relationship of the parties involved and the nature

of the transaction’ when determining whether one party’s reliance



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        Defendants argue that they are using WordPad as it is intended, to
provide varied language in medical reports, and so, if the Plaintiffs take
issue with that they ought to go after the creators of WordPad. The service
provided by WordPad, however, does not violate Pennsylvania insurance fraud
law. The alleged crime here is submitting records of medical diagnoses and
treatment that do not reflect what actually transpired or what is medically
necessary. To the extent that Defendants can be shown to have deliberately
changed the language in the records in order to avoid detection of fraud, the
use of the WordPad software is relevant. It is not, as Defendants suggest, the
use of synonyms that is alleged to be a crime.

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on    the   allegedly   fraudulent     representations     of   another    is

justifiable.” Tran v. Metropolitan Life Ins. Co., 408 F.3d 130, 135

(3d Cir. 2005) (quoting Rempel v. Nationwide Life Ins. Co., Inc.,

370 A.2d 366, 368 (Pa. 1977)).

      Again, Defendants are mistaken as to what the Plaintiffs are

alleging. The Plaintiffs claim the submissions from the Defendants

are   not   individually    implausible,    but   rather   that   they    are

implausible “across the patient population,” “across such a wide

swath of patients,” and “across time and across patients.” Amend.

Compl. ¶¶ 28, 47, 63. It is clear from the Amended Complaint that

it is the pattern of similarity, according to the Plaintiffs, that

led them to suspect the individual claims were fraudulent.

      Additionally, State Farm alleges that through the use of

WordPad, Defendants have attempted to conceal the similarity among

claims, making it difficult for State Farm to have recognized the

pattern. Defendants do not address this claim, nor the claim that

it is only by viewing the submissions collectively that Plaintiffs

were able to detect the fraud. Instead, they respond as though

Plaintiffs say something else entirely in their Amended Complaint

– that each individual record was obviously fraudulent at the time

Plaintiffs received it. We find this to be an unreasonable reading

of the Amended Complaint. Instead, Plaintiffs allege the individual

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records appeared to be legitimate and individualized, and that

Defendants took steps to evade detection, making it difficult to

recognize    the       fraud.   Whether   State   Farm’s   reliance    on   the

submissions by the Defendants was reasonable or justified is a

question of fact; this is precisely the kind of inquiry that is

best decided by a jury and would be improper for a court to dismiss

at this stage. Accordingly, we deny the motion to dismiss on this

ground.

C. Statute of Limitations

     Defendants argue that the claims against them that fall

outside of the relevant statute of limitations period must be

dismissed. In Pennsylvania, fraud claims are subject to a two-year

statute of limitations. 42 Pa.C.S.A. § 5524(7). Unjust enrichment

and restitution claims are subject to a four-year statute of

limitations. 42 Pa.C.S.A. § 5525(a). If the statute of limitations

“bar is not apparent on the face of the complaint, then it may not

afford the basis for a dismissal of the complaint under Rule

12(b)(6).” Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014)

(internal quotation and citation omitted). A complaint need not

“anticipate or overcome affirmative defenses; thus, a complaint

does not fail to state a claim simply because it omits facts that

would   defeat     a    statute   of   limitations   defense.”   Id.   at   248

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(citations omitted).

     “‘The discovery rule is a judicially created device which

tolls the running of the applicable statute of limitations until

the point where the complaining party knows or reasonably should

know that he has been injured and that his injury has been caused

by another party’s conduct.’” Id. at 251 (quoting Crouse v. Cyclops

Indus., 745 A.2d 606, 611 (Pa. 2000)). The inquiry “focuses on

whether the plaintiff was reasonably diligent in discovering his

injury.” Id. (quotation omitted). In Schmidt, the Third Circuit

noted that while generally a plaintiff bears the burden of showing

the discovery rule tolls the statute of limitations, a plaintiff is

also not required to plead responses to anticipated affirmative

defenses in the complaint. Id. The Third Circuit resolved that

tension in finding “that when ‘the pleading does not reveal when

the limitations period began to run ... the statute of limitations

cannot justify a Rule 12 dismissal.’” Id. (alteration in the

original) (quoting Barefoot Architect, Inc. v. Bunge, 632 F.3d 822,

835 (3d Cir. 2011)).

     State   Farm   does   not    dispute    that some   of   the allegedly

fraudulent   records   were      submitted   outside   of   the   statute   of

limitations period. Instead, they argue that the Amended Complaint

does not demonstrate, as a matter of law, whether the discovery

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rule applies, and therefore it also does not demonstrate when the

statute of limitations period began to run. We agree with State

Farm. As we have addressed above, the Plaintiffs claim that they

were not aware of the fraud until reviewing a large number of

claims revealed the implausible similarities among them. Nothing in

the Amended Complaint indicates Plaintiffs had knowledge during the

relevant time period. Dismissal on this ground would therefore be

improper. Accordingly, we deny Defendants’ motion to dismiss on

this ground.

IV. Conclusion

     For the reasons explained above, the Motion to Dismiss is

denied. An Order follows.




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